       Case 1:15-cv-02057-SHR Document 77 Filed 04/23/19 Page 1 of 2




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


J.H., by and through his next friend, FLO MESSIER;:
L.C., by and through her next friend, FLO MESSIER;:
R.J.A., by and through his next friend, J.A.; JANE:
DOE, by and through her next friend, JULIA        :
DEKOVICH; A.B., by and through his next friend,   :
J.B.; S.S., by and through his next friend, MARION:
DAMICK; G.C., by and through his next friend, LUNA:
PATTELA; R.M., by and through his next friend, FLO:
MESSIER; P.S., by and through his next friend,    :
M.A.S.; T.S., by and through his next friend, EMILY
                                                  :
MCNALLY; M.S., by and through his next friend,    :         Action No.
EMILY MCNALLY; and ALL OTHERS SIMILARLY           :         1:15-cv-02057-SHR
SITUATED,                                         :
                                                  :
                        Plaintiffs                :
                   v.                             :         CLASS ACTION
                                                  :
TERESA D. MILLER, in her official capacity as     :
SECRETARY OF THE PENNSYLVANIA                     :
DEPARTMENT OF HUMAN SERVICES; EDNA I.             :
MCCUTCHEON, in her official capacity as the CHIEF :
EXECUTIVE OFFICER OF NORRISTOWN STATE :
HOSPITAL; VALERIE VICARI, in her official         :
capacity as the CHIEF EXECUTIVE OFFICER OF        :
TORRANCE STATE HOSPITAL,                          :
                   Defendants                     :



                                   ORDER

                      23rd day of April, 2019, upon consideration of the
      AND NOW, this ______

Defendants’ Unopposed Motion for Extension of Time to File a Brief in

Opposition to Plaintiffs’ Second Renewed and Amended Motion for Preliminary
        Case 1:15-cv-02057-SHR Document 77 Filed 04/23/19 Page 2 of 2




Injunction, it is hereby ORDERED that the Motion is GRANTED. Defendants

shall file a Brief in Opposition by April 23, 2019.



                                              BY THE COURT:


                                               s/Sylvia H. Rambo
                                              _____________________________
                                              Sylvia H. Rambo, District Judge
                                              United States District Court
                                              Middle District of Pennsylvania
